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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES—GENERAL

 Case No. CV 24-10546-MWF (BFMx)                   Date: June 11, 2025
 Title: Stephen Chapman v. Horace Mann Property and Casualty Insurance Company
 Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

           Deputy Clerk:                            Court Reporter:
           Rita Sanchez                             Not Reported

           Attorneys Present for Plaintiff:         Attorneys Present for Defendant:
           None Present                             None Present

 Proceedings (In Chambers): ORDER DENYING PLAINTIFF’S MOTION FOR
                            RECONSIDERATION [45]; MOTION TO STRIKE
                            [46]; MOTION TO STAY [47]

       Before the Court are three motions (the “Motions”):

       The first is Plaintiff Stephen Chapman’s Motion for Reconsideration of Order
 Denying Motion to Remand (the “Reconsideration Motion”) filed on May 9, 2025.
 (Docket No. 45). On May 19, 2025, Defendant Horace Mann Property & Casualty
 Insurance Company filed an Opposition. (Docket No. 53).
      The second is a Motion to Strike Portions of Defendant’s Opposition to the
 Motion to Remand (the “Motion to Strike”) filed by Plaintiff on May 11, 2025.
 (Docket No. 46). Defendant filed an Opposition on May 19, 2025. (Docket No. 53).
        The third is a Motion to Stay Enforcement of Orders Pending Resolution of
 Plaintiff’s Motion for Reconsideration (the “Motion to Stay”). (Docket No. 48).
       Plaintiff filed a Supplemental Brief and Evidentiary Declaration in support of the
 Motions on May 11, 2025. (Docket No. 47). Additionally, Plaintiff filed an untimely,
 comprehensive Reply on June 3, 2025. (Docket No. 55). Despite its untimeliness, the
 Court considered Plaintiff’s arguments in the Reply.

        The Motions are DENIED. Plaintiff has failed to articulate any viable basis for
 the relief sought.


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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES—GENERAL

 Case No. CV 24-10546-MWF (BFMx)                   Date: June 11, 2025
 Title: Stephen Chapman v. Horace Mann Property and Casualty Insurance Company
 I.    BACKGROUND

       The Court previously summarized the central facts of this action in its Order
 Denying Plaintiff’s Motion to Remand (the “Prior Order”). (Docket No. 40). The
 Court incorporates by reference the Background section of the Prior Order.
 II.   DISCUSSION

       A.     Reconsideration Motion

        A motion for reconsideration “should not be granted, absent highly unusual
 circumstances, unless the district court is presented with newly discovered evidence,
 committed clear error, or if there is an intervening change in the controlling law.”
 Marlyn Nutraceuticals, Inc. v. Mucos Pharma GmbH & Co., 571 F.3d 873, 880 (9th
 Cir. 2009) (citation omitted). The movant bears the burden of proving that
 reconsideration is proper. 389 Orange St. Partners v. Arnold, 179 F.3d 656, 665 (9th
 Cir. 1999).

        “Courts in this district have interpreted Local Rule 7-18 to be coextensive with
 Rules 59(e) and 60(b).” Gish v. Newsom, No. EDCV 20-755-JGB (KKx), 2020 WL
 6054912, at *2 (C.D. Cal. Oct. 9, 2020) (citation omitted)). Under Local Rule 7-18, a
 motion for reconsideration may be made only on the grounds of: (a) a material
 difference in fact or law from that presented to the Court that, in the exercise of
 reasonable diligence, could not have been known to the party moving for
 reconsideration at the time the Order was entered; (b) the emergence of new material
 facts or a change of law occurring after the Order was entered; or (c) a manifest
 showing of a failure to consider material facts presented to the Court before the Order
 was entered. L.R. 7-18.

        “No motion for reconsideration shall in any manner repeat any oral or written
 argument made in support of or in opposition to the original motion.” Id.
 “Unhappiness with the outcome is not included within the rule; unless the moving
 party shows that one of the stated grounds for reconsideration exists, the Court will not
 grant a reconsideration.” Gish, 2020 WL 6054912, at *2 (citation omitted) (denying a
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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES—GENERAL

 Case No. CV 24-10546-MWF (BFMx)                   Date: June 11, 2025
 Title: Stephen Chapman v. Horace Mann Property and Casualty Insurance Company
 motion for reconsideration where the plaintiffs failed to present new evidence or show
 a change in law).

        Plaintiff’s arguments for reconsideration are merely attempts to re-litigate the
 arguments already rejected in the Prior Order. Plaintiff fails to identify newly
 discovered evidence, clear error, or an intervening change of authority that warrant
 relief. Rather, the Reconsideration Motion is hard to follow and replete with actions
 that Plaintiff perceives to be procedural irregularities amounting to fraud on the Court.
 The clerical errors that Plaintiff raises would neither cause the Court to change its
 ruling in the Prior Order nor divest this Court of its jurisdiction over the action.

       Accordingly, the Motion for reconsideration is denied.
       B.     Motion to Strike and to Stay

       In the Motion to Strike, Plaintiff seeks to strike portions of Defendant’s
 Opposition to the Motion to Remand, which the Court already ruled on in the Prior
 Order. Plaintiff cites to no authority supporting the relief sought, and most notably, the
 Court fails to understand the relevance of seeking such relief.

        The Motion to Stay is similarly meritless. Plaintiff seeks to stay enforcement of
 this Court’s Order/Referral to ADR, Docket No. 43, and Order re: Jury Trial, Docket
 No. 44, pending resolution of Plaintiff’s Reconsideration Motion. Because the Court is
 ruling on the Reconsideration Motion in this Order, the Motion to stay is denied as
 moot.

       Accordingly, the Motions are DENIED.

       Since January 23, 2025, Plaintiff has submitted 22 separate filings to the
 Court—including two ex parte applications, four motions, and various declarations
 amassing a total of 1,376 pages—dedicated to litigating and re-litigating largely the
 same issues regarding “procedural irregularities.” (See Docket Nos. 11, 12, 13, 18, 19,
 20, 22, 23, 29, 30, 32, 36, 37, 38, 41, 42, 45, 46, 47, 48, 55, 58). Any further filings
 seeking to re-litigate the issues raised in these filings, and already ruled on by this
 Court, will summarily be denied.
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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES—GENERAL

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        Plaintiff is again reminded that although he is proceeding pro se, he will be held
 to the same requirements as counsel through discovery and trial preparation. The
 Court urges Plaintiff to review the Self-Representation Order (Docket No. 8).

       IT IS SO ORDERED.




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